       Case 2:23-bk-10990-SK                    Doc 710-6 Filed 04/12/24 Entered 04/12/24 14:07:10                                       Desc
                                                   Proof of Service Page 1 of 2
                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                     10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION FOR ORDER
AUTHORIZING (1) SALE OF REAL PROPERTY COMMONLY KNOWN AS 2560 N. WHITEWATER CLUB DRIVE,
UNIT B, PALM SPRINGS, CA 92262, FREE AND CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES
PURSUANT TO 11 U.S.C. §§ 363(b) AND (f); AND (2) PAYMENT OF REAL ESTATE BROKERS’ COMMISSIONS;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF BRADLEY D. SHARP, WILLIAM FRIEDMAN
AND STEVE ENLOW IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 12, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                      Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) April 12, 2024, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                      Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 12, 2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Via Federal Express                                                          Via Email:
Honorable Sandra R. Klein                                                    Simon Aron on behalf of Kenneth Klein and Shoshana
U.S. Bankruptcy Court/Central District of California                         Shrifa Klein: saron@wrslawyers.com;
Edward R. Roybal Federal Building and Courthouse                             moster@wrslawyers.com
255 E. Temple Street, Suite 1582 / Courtroom 1575
Los Angeles, CA 90012                                                        Leslie Klein: les.kleinlaw@gmail.com;
                                                                             leskleinlaw@gmail.com; kleinlaw@earthlink.net

                                                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 12, 2024                 Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                           Printed Name                                                    Signature




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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       Case 2:23-bk-10990-SK                    Doc 710-6 Filed 04/12/24 Entered 04/12/24 14:07:10                                       Desc
                                                   Proof of Service Page 2 of 2
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Case 2:23-bk-10990-SK



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2. SERVED BY UNITED STATES MAIL:

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                 Michael Jones, Assistant U.S. Trustee                               Oldman, Sallus & Gold, L.L.P.
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                 Los Angeles, CA 90017
                 Leslie Klein & Associates, Inc.                                     Leslie Klein
                 c/o Parker Milliken                                                 322 North June Street
                 555 Flower Street                                                   Los Angeles, CA 90004
                 Los Angeles, CA 90071




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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